
570 S.E.2d 892 (2002)
356 N.C. 310
STATE of North Carolina
v.
John Walker McDONALD.
No. 400P02.
Supreme Court of North Carolina.
October 3, 2002.
Marshall L. Miller, for McDonald.
Isaac T. Avery, III, Special Deputy Attorney General, Patricia A. Duffy, Assistant Attorney General, Thomas H. Lock, District Attorney, for State.
Prior report: 151 N.C.App. 236, 565 S.E.2d 273.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 3rd day of October 2002."
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of October 2002."
